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263~066806 RES/cjs

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF lLLINOIS

WESTERN DIVISION
LORI ADCOCK, as Special Administrator )
of the Estate of SELMER NESET, Deceased, )
)
Plaintiff, ) Civil Action No.:
v. ) (Circuit Court McHenry County)
) Illinois Case No.: 09 LA 238
SUNRISE IV CRYSTAL LAKE SL LLC, )
d/b/a THE FOUNTAINS, an Illinois Limited )
Liability Company, )
Defendant.
NOTICE OF REMOVAL

 

NOW COME, the Defendant, SUNRISE IV CRYSTAL LAKE SL LLC, by and through its
attorneys, PRETZEL & STOUFFER, CHARTERED, and hereby remove this civil action, case number
10 LA 401 from The Circuit Court of The Twenty-Second Judicial Circuit, McHenry County, State
of lllinois, to the United States District Court for the Northern District of lllinois, Western Division,
pursuant to 28 USC §§ 1441 and 1332. ln support thereof, the Defendant states as follows:

1. This action Was re-filed in The Circuit Court of The TWenty-Second Judicial Circuit,
McHenry County, State of Illinois on October 28, 2010. (A copy of the Complaint at Law and
Summons are attached hereto and incorporated herein as “Exhibit 1”). A copy of the Complaint Was
served upon the Defendant, Sunrise IV Crystal Lake SL LLC, on November 5, 2010. This notice is
filed within 30 days after service of the Complaint upon the Defendant.

2. Any civil action brought in a state court of Which the District Courts of the United
States have original jurisdiction may be removed by the defendant to the district court of the United

States for the district and division embracing the place Where such action is pending. 28 USC §§ 1441 .

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3. The district courts shall have original jurisdiction of all civil actions where the amount
in controversy exceeds $75,000.00, exclusive of interest and costs, and where there is complete
diversity. 28 USC §§1332. There is complete diversity when, at the time that the action was

commenced, every plaintiff is of diverse citizenship as every defendant E.

4. At the time the action was commenced, Plaintiff, Lori Adcock, was a citizen of the

State of lllinois.

5. At the time this action was commenced, Defendant, Sunrise IV Crystal Lake SL, LLC,
was a Delaware limited liability company with one member. The sole member of the Defendant was
Sunrise lV (Pool Il), LLC, a Delaware limited liability company. The sole member of Sunrise IV
(Pool ll), LLC was Sunrise IV Senior Living Holdings, LLC, also a Delaware limited liability

COI‘I'lpal'ly.

6. Sunrise IV Senior Living Holdings, LLC has two members: Sunrise Senior Living
lnvestments, Inc. and US Senior Living Investments, LLC. Sunrise Senior Living lnvestments, Inc.
was a corporation organized and existing under the laws of the State of Virginia. Its principal place

of business was also in Virginia.

7. The Sole member of US Senior Living lnvestments, LLC is GSS (US Senior Living
lnvestments), lnc., which was a corporation organized and existing under the laws of Delaware. Its
principal place of business was in New York. None of the limited liability companies had their

principal place of business in lllinois.

8. The amount in controversy exceeds $75,000.00, exclusive of interest and costs.
Plaintiff contends that Defendants’ alleged negligence caused Selmer Neset to suffer a fall and a

fractured hip. Plaintiff has alleged that they are entitled to personal and pecuniary damages, including

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pain, suffering, medical expenses, disfigurement and mental anguish. Plaintiff has also alleged that
the alleged negligence proximately caused the death of Selmer Neset. Based on this information, there
is a good faith basis to assert that the amount in controversy could exceed the jurisdictional amount.

9. Therefore, the United States District Courts have original jurisdiction for this civil
action under 28 USC § 1332 because there is complete diversity and the amount in controversy exceeds

$75,000.00, exclusive of interest and costs.

10. This Notice of Removal is filed in the United States District Court for the Northem
District of lllinois, Western Division, which is the district and division in which the State action is

pending.
1 1. Defendant have attached to this Notice copies of process and pleadings that have been
served upon it.

WHEREFORE, the Defendant, SUNRISE IV CRYSTAL LAKE SL LLC, by and through its
attorneys, PRETZEL & STOUFFER, CHARTERED, pray that this cause be removed to the United
States District Court for the Northem District of lllinois, Western Division for the reasons set forth

above.

Respectfully submitted,

/s/ Robert E. SidkeV
PRETZEL & STOUFFER, CHARTERED

One South Wacker Drive
Suite 2500

Chicago, IL 60606

Telephone: (312) 578-7524
Fax: (312) 346-8242

Rsidkey@pretzel-stouffer.com
Attorneyfor Defendant

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CERTIFICATE OF SERVICE

A copy of the Defendant’s Notice of Removal was filed electronically this 29th day of
November, 2010. Notice of this filing will be sent to all parties by operation of the Court’s
electronic filing system, and via regular mail. Parties may access this filing through the court’s
electronic system.

ATTORNEY FOR PLAINTIFF

Law Offices of Thomas J. Popovich, P.C.
3416 W. Elm Street

McHenry, lllinois 60050

(815) 344-3797

(815) 344-5280 - fax

Respectfully submitted,

/s/Robert E. Sidke
PRETZEL & STO FFER, CHARTERED
One S. Wacker Drive

Suite 2500

Chicago, lL 60606

Telephone: (312) 578-7489
Fax: (312) 346-8242

rsidl<ey@pretzel-stouffer.com
Attorneyfor Defendant

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SUI\{MONS- 30 DA Y -
IN THE CIRCUIT COURT OF THE TWENTY-SECOND JUDICIAL ClRCUlT

McHENRY COUNTY, lLLINOIS
(Name all parties) .

LOR| ADCOCK, as S_pecia| Administrator

` of the Est'ate of Selmer Neset, Deceased

 

Piaintirr(s) '
VS§

SUNRISE lV`CRYSTAL LAKE'SL LLC, l

Case Nurnber -' 10 LA 401
dlb_la THE FOUNTA|NS, an _I|linois Li_mited

 

Amo_unt Cla'imec_i__$ 501000-00-’*'_

 

 

Liability Corporation z __ _ . . . _ - PLE-ASE SERVE: _
Defendant(s) __ _ ' __ __ ~ ` ._ _§t_:ep_hanieTimit_renko, Administrator
' - ` ` ' __ The` Fountains
SUl\/_ll\/_[()NS 1000 E. Brighton La-ne
_ Crystal Lake, _IL 60012
To each Defendant `

YOU _ARE SUMMONED and required to file an answer in this case, or otherwise file your appearance,
in the office of the Clerk of this court, McHenry County Gover`nnient Ce_nter, 2200 N. Se_n`iinary Avenue,
Wood-stock, lllinois, 60098, Within 30 days after service of this summons, not counting the day off service IF

YOU FAIL_ TO DO SO, A JUDGMENT O_R DECREE BY DE_FAU_LT MAY BE TAKEN AGAINST
YOU FOR THE RELIEF ASKED lN TI~__IE CQMPLAHVT. `

To the officer:

This summons must be returned-by the officer or other person to whom it was given for service, with
endorsement of service and fees, if any, immediately after service. It` service cannot be made, this summons
- shall be returned so endorsed This summons may not be served later than 30 days after its date.

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=.,'E)"'. rumors .~'§§>
"",,\/" ........... `$;.»~"
"' ..-" ' . Clerk of the Circuit Court
lh"‘mlm\u\\\*‘ _ .

 

Plaintist attorney or plaintiff if he is not represented by an attorney

Name Law Oft" ces of Thomas J. Popovich Prcpared by .
Attomey for` Plaintiff

_ Address 3416 W. Elm Sf.
City, State Zip McHenry, lL 60050 _ -
Telephone 815-344-3797

Attoniey for
Attomey Registration No. 06203684

CV-SUM9: Rcvised 12/0 1/06

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- - _ )ss. _ . _
' . CoUNrY oF MCHENRY ) . - _` _ '_ . ' , :W*;§RE$‘§$Y“¢“E§L

IN THE ClRCUIT COURT OF THE TWENTY- SECOND JUDICLAL ClRCUlT
McHENRY COUNTY, ILLINOIS

LoRi ADcoCK, as special Administrator _ ) `
of the Estat_e of SELMER NESET, Deceased, ) `
' )
Plaintiff, ) .
__ l) - _ ,
SUNRISE IV CRYSTAL LAKE SL LLC_, )
d/b/a THE FOUNTAINS, an lllinois Limited ` )
Liability Co`mpany., )
- `- ~ . j )
Defendant _ )
QQM

Countl- Violation of Statute/Survival

NOW COl\/IES the Plaintiff, LORI ADCOCK as Special Adr_nini`st_rator of the Estate of
SELMER NESET, Deceased, by her attorneys LA'W OFFICES OF THOMAS J. _POP-OVICH, P .C.,
against the defendant SUNRISE IV CRYSTAL LAKE LLC d/b/a THE FOUNTAiNS, an lllinois -
Limited liability Company corporation_alleges as follows: - - -

1. _Selmer Neset Was born on Ap`ril 21,_-193.1.

2_. ._ - séimér fraser died on Juiy ii, 2907. l

il l'r~ic')rlci:' d `

BY_ LocAL RULE 310 `
THis cAsE is Hi; :PEBY s`ET FoR s h ,BPUNGON

coNFE merits conn ar oor\~. AT&ON
S];?Q @`H Pwl

FNL.URE TO APF?EF\RO i'\r`./+Y RlESULT li\‘ THE CASE
BElNG DlS ".'\liS_SE D Oi"'\ AH ORDER OF
DEFAULT BEING ENTERED.

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3. l Lori Adcock was appointed as Special Administrator of the Estate of Selmer'Neset
for purposes of this cause of action. n
4. Defendant, Sunrise IV Crystal Lake LLC d/b/a The Fountains, is an Illinois Lirnited l
Liability Company with its primary place of business located at 1000 East Brighton, Crystal Lalte,
Illinois, and was a facility licensed by the Illinois Department of Public 'Health to provide nursing
_and other medical care to it’s residents
5. - Selmer Neset was admitted to rl_`he Fountains o'n or about December 7, 2006 for long
term nursing care due to dementia and other medical-conditions _ l.
' 6.-' Selmer Neset was a resident and/ or patient of the befendant from December 7, 2006
to June 30 2007. -
7-. Throughout the time that Selmer Neset was a resident o_f The Fountains Defendant ,
_owne'd`, operated and Were officers, directors and/or stockholders of The Fountains.-
'8. - At all times relevant to this-Complaint, The Fountains was licensed by the State of
Illinois `as a long.ter_rn care facility. v l
_ 9. l At all times relevant to this Complaint there was in'full force and effect a statute
' _ known as the Nursing I-Iorne Care Act as amended (the “Act”),- 2__'10 [LCS 4_5/1- 101 et seq
' . , 103 _ At all times relevant t_o this Complaint, The Fountains operated by Defendant was a
' “facility” as defined by Sec. 45/1- l 13 of the Act and Was subject to the requirements of the Act and
l _ the regulations of the Illinois Dep_artme_nt o_f Public I-Iealth promulgated pursuant to the Act.-
111. At all times relevant to this Complaint, Defendant was subject to the requirements

of 42 U.S.C.Sec.139r(1990) etseq. as amended by the Omnibus Budget Reconciiiation Act of 1987

(“ OBRA”) '

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12. At all times relevant to' this Complaint, Defendant Was subject to the requirements
. of 'Volume 42, Code of Federal _Regulations, Part 483 setting forth -Me'dicar_e and Medicaid
l` Requirements for Long Term Facilities (“OBRA Regulations'”) as effective on October 1,1990.

1,3. At all times relevant to this Complaint The Fountains`, operated by Defendant, Was

a “nursing facility” as defined-by 42'U.S.C.A. Sec. 13961.'

14. Defendant, The Fountains, by its owners, licensees, administrators, employees,
l agents and staff had the duty not to abuse or neglect any resident of The Fountains as provided by
. the Act as follows: n

An owner, licensee, administrator, employee o`r agent of a facility l
shall not abuse or neglect a residents (-210 ILCS 45/1- 103)

“Abuse” means a physical or mental mjury or sexual assault inflicted
_ on a resident other than that by accidental means in a facility (210
IL.CS 45/1 103)

“Neglect” means a failure 1n a facility to provide adequate medical or " ._
personal -ca`re or maintenance, which failure results m physical or` `
mental injury to a resident or in the deterioration of a resident’ s `
physical or mental condition (210 ILCS 45/1- 117)
15. At all relevant times Defendant, T_he Foun`tains, by its officers, employees, agents
- and staff had the following duty under OBRA and Se_c. 483. 25 of the OBRA l11egula_tions:v _
Each resident must receive and the facility must provide the necessary
care and services to attain or maintain the highest practicable
physical, mental and psycholog10al well being, inaccordance with the
comprehensive assessment and plan of care.
16. On and before and after June 30, 2007, and at all-time materialj The Fountains
' ,' provided nursing care and treatment to Selmer Neset,`who was completely dependent of The

'_ Fountains staE for all of his medical and nursing care. '

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17. On and before June 30, 2007, Selmer Neset was assessed as being at a high risk for
_fall and iajury. l '

18. On and before June 30,.2007, Defendant’s policies and procedures required that fall
protections and interventions be implemented to prevent Selmer Neset from falling and injurying
_himself.

19. On or before June 30, 2007, Defendant,l its agents,. servants, employees, nurses and
nurses assistants,' failed to implement adequate fall- protection interventions for Selmer Neset, and
allowed him to _be leftlal_-o'ne without adequate-and direct nursing supervision.'

-20. During Selmer Neset’-s residency at The Fountains, the Defendant violated the
provisions of the'Act in one or more of the following ways:
.a.. - . Failed to provide adequate and properly supervised care to meet Selmer
_ N_eset_’ S total nursing and personal care needs, in violation of 77
- _ 111 Admln Code, Ch.'I-, §300 1210 a); '

b'. 'F a11ed to report the matter of abuse or neglect to the Department of Public `
Health, in violation of 77 Ill.Admin.Code, Ch.1 § 300.-3_240`d);

c. _ Failed to protect Selmer Neset from abuse, neglect or mistreatment according
_to the Department of Health and Human Services Long Term Care Guidelines
Tag No. F225 and the Nursing Home Care Act, 210 IL`.CS_ 45/2-1_07 (Abuse)
21. -As a-direct and proximate result of one or more of the Defendant The Fountains’
statutory violations, Selmer Neset-, was left alone-, was allowed to fall and fracture his left hip, for
which he consciously su:&`ered personal and pecuniary damages, including his pain and suffering

medical expenses, disiigurement-and mental anguish prior to his death, and had he survived would

have been entitled to bring an action for such damages and such action has survived him.

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WHEREFORE the Plaintiff, LOR_I ADCOCK, as Special Administrator of the estate of
SELMER NESET, asks that judgment be entered against the defendant SUNRISE IV CRYSTAL
LAKE LLC, INC., d/b/a THE FOUNTAINS, lNC., in an amount in excess of $50, 000. 00.

Count II~ Negligence/Wrongful Death

NOW COthS the Plaintiff, LORI ADCOCK as Special Adininistrator of the Estate of
SELMERNESET, Deceased, by her-attorneys LAW OFFICES OF_ IHOh/lAS J. POPOVICH, P.C.,
and for Count 11 of her Complaint-against the defendant SUNRlSE 1V CRY_STAL LAKE LLC d/b/ a -
THE FOUNTAINS, an Illinois corporation, alleges as follows: _ l-

l1-21. Plaintiff restates and realleges paragraphs 1 21 of Count 1 as paragraphs 1-21 of this
Count 11_, as though fully set forth herein.

22. -' - Duting Selmer.Neset’s aforesaid residency at The Fountains, the Defendant7 through
it’s-agents' and employees, was negligent in'jone or more of the_-followinglways: '

- la_. _ - Failed to provide adequate and properly supervised care to meet Selmer
` Neset’ S total nursing and personal care needs, in violation of 77
111. Admin Code, Ch.l, §300_. 1210 a); -

b'. l ' Failed to report the matter of abuse or neglect to_ the Depanment of Public
Health, in violation of 77111.Adm-in.Cod_e, Ch.1 § 300. 3240 d);

- c. Failed to protect Selmer Neset from abuse, neglect or mistreatment according
to the Department of Health and Human Servi_ces Long Terin Care Guidelines
`_ Tag No. F225 and the Nursing Home Care Act, 210 IL'CS 45/2- 107 (Abuse);

d ` Failed to provide Selmer the necessary and reasonable nursing care he
` ' required and was entitled to during her stay at the facility;

e. Failed to implement adequate fall interventions and precautions;

f. Allowed Selmer Neset to be lett unsupervised in his room;

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g. lmplemented the use of a tab monitor when Defendants knew or should have
known that such use was contraindicated and/or inappropriate for Selmer
Neset. ~ ' ~

_ 23. As a direct and proximate result of one or more of the Defendant The Fountains’
statutory violations, Selmer Neset, fell, fracturing his left hip, :which ultimately and proximately
caused his death. v -

d 24. -Th-at decedent, Selmer Neset, left surviving him a daughter Lori Adcock, and son
-John Neset who have suffered pecuniary losses as a result of the death of their father including the
_ loss of his love, society, and companionship

l WHEREFORE the Plaintiff LORI ADCOCK, as Special Adrninistrator of the lEstate of
SELl\/fER NESET, Deceased, asks that judgment be`entered against the defendant S_UNRlSE 1V
cRYsrAL, LAKE LLC.,. lN_c., d/b/a THE FoUNTArNs, llNc., in an amount 111 excess of _

_-$5_0,000.00.

   

'/.1> POVICH,P.C.

 

JAMEs P'{ TU‘rAJ, Allbmey for Plaintiff

`LAW .OFFICES OF THOMAS.J. POPOVICH, P.C-.
` 3416 W. Elm_Street - '
` McHenry, Illinois 60050 _
`815-`344-3797-
- -Attorney No. 06203684-

S:\Main\ADCOCK, LORl\Documents\Complaint 6-29~09.wpd

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. STATE OF ILLINOIS ')
. ' . )SS
' MCHENRY COUNTY _ v)

IN THE CIRCUIT COURT FOR THE-ZZN” JUDICIAL CIRCUIT
McI-[ENRY COUNTY, ILL_INOIS

LoRl ADCOCK, as special'Administralor - )
of the Estate of SELMER NESET, Deceased, )
Plaintiff, . )

) _ l _

vs. ) - No. 07 LA 60
. - )
- WRHC & RC, d/b/a WOODSTOCK . )
RESIDENCE,- an Illinois corporation, )
' ' - - )

Defendant.. )_ '.

` I, JAMES P. .'-1_`U_TAJ,` being first duly sworn 011 oath, depose and State as follows:

- 1. That I am one of the attorneys responsible for the prosecution 'of the above-entitled
case. ` '

2. Th'at on behalf the Plaintiff, Lori Adcock as Special Adrnin_istrator of the Estate of
' Selmer Neset, Deceased, lam hereby requesting money damages in excess of $50, 000. 00, against
. the above-named Defendant -

FUR'_I`HER, Affiant sayeth naught

  
 

LAW onricEs 0F T

 

one of Plainaa”{Aa€m-ey ’ v l/

LAW OFFICES OF THOMAS J. POPOVICH, P. C_.
'3416 W Elm Street

McHenry, Illinois 60050

815/344-3797
_ ARDC No. 06203684

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IN THE ClRCUlT COURT OF THE TWENTY-SECOND JUDICIAL CIRCUIT
McHENRY COUNTY, ILLINOIS

Loiu ADCOCK, as special Adminisrrator _
of the Estate of SELMER NESET, Deceased, . _

Plaintiff,
vs.
SUNRISE_ IV CRY'STAL LAKE SL LLC,

d/b/a THE FOUNTAINS, an Illinois Limited
- Liability Company, _

\J\_/\./\_/\_/\_/\.l\_/VV\_/\/'
O

-Defendant.
ATTORNEY’S AFFIDAWT PURSUANT TO_ 5/2-622(21(;1

1, James P. Tutaj, upon oath and under penalty of perjury as provided by Section l-109 of the
Code of Civil P_r_ocedure, state that I have personal knowledge of the facts set forth in this Aff`idavit and
if called to testify could testify competently thereto: .

l. _ ' ' ~ 1 am `_one of the attorneys for Plaintiff, Lori'Adcock, in the above captioned matter.

2. l was unable to obtain a consultation as required by paragraph-l of Section 2-622 of
the Code 'of Civil Procedure because the statute of limitations would impair the action and the
consultation required by paragraph l could 'not be obtained before the expiration of the statute of
limitations " ' '

3. ' " l shall file an affidavit and written report required by para ph l' of Se 'o .2~6_22
within 90 days of the filing of Plaintifi’s Complaint

 
    

- FURTHER AFFLANT SAYETH NAUGH_T _

_ JAMEs P. rn'rA/F, Aa_ome_,/ror maturity .

 
 
    

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\ _ 1141 ,2010.' - ' -.,.__,__._._-,.__ ................ ‘ _ -
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mchMesloN masses/lan

_ ___________
_ _________ _ _ '__
‘v"'v__v"vvvv"~v vv

 

 

rv'v v

 

 

 

LAW OFFICES OF- THOMAS J. POPOVICH, P.C.
3416 W est Elm Street `
McHenry, IL 60050

815-344-3797

Attomey 1D _No. 06203684

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